                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 DONNA LOU and DAREN PARSA, on                      CIVIL ACTION NO. 2:21-cv-00080
 their own behalf and on behalf of their
 deceased minor child, E.P.                         SECTION “D”

                                                    DIVISION (2)
 versus
                                                    JUDGE WENDY B. VITTER

 SHERIFF JOSEPH P. LOPINTO, III, et                 MAGISTRATE DONNA P. CURRAULT
 al.



     MEMORANDUM IN SUPPORT OF DEFENDANTS VICTORY REAL ESTATE
     INVESTMENTS LA, LLC’S AND WESTGATE INVESTORS NO, LLC’S d/b/a
      WESTGATE SHOPPING CENTER MOTION FOR SUMMARY JUDGMENT


MAY IT PLEASE THE COURT:

       This is a tragic case involving a boy who lost his life. However, fault cannot lie with

Defendants Victory Real Estate Investments LA, LLC and Westgate Investors NO, LLC d/b/a

Westgate Shopping Center (“Moving Defendants”), the owners of the property on which the

incident occurred. Plaintiffs Donna Lou and Daren Parsa’s theory of liability on the part of Moving

Defendants is that they are responsible for the actions of their private security guard on grounds of

respondeat superior, or vicarious liability. Summary judgment in favor of Moving Defendants is

proper because the private security guard was not a “servant,” or employee, of Moving Defendants;

he was an independent contractor deployed to the shopping center to provide security and

protection. Alternatively, even if the security guard were an employee of Moving Defendants, it is

undisputed that his conduct did not cause injury.
                                     FACTS AND BACKGROUND

        On January 14, 2021, Plaintiffs Donna Lou and Daren Parsa (“Plaintiffs”) filed the

Complaint on their behalf and on behalf of their minor son, E.P.22 Plaintiffs allege that their 16-

year-old child, E.P., who was severely autistic, died while in the custody and care of Jefferson

Parish Sheriff’s Office (JPSO) deputies while in the parking lot of the Westgate Shopping Center.23

E.P. was allegedly “held down in a prone position, on his stomach, handcuffed, shackled, arms

and legs held down, head, shoulder and neck encircled by the arm of a deputy, with JPSO deputies

applying their own body weight as a restraint, while he was suffering from an acute sensory

episode…”.24 Plaintiffs allege that JPSO deputies “persisted in dangerously and forcefully

restraining E.P. without appropriately monitoring his condition, until they killed him.”25

        According to Plaintiffs, Moving Defendants “hired, authorized and/or provided security

officers for its tenants, customers and visitors.”26 JPSO Deputy Chad Pitfield (“Defendant

Pitfield”) was a member of the security team.27 Defendant Pitfield was allegedly a JPSO Reserve

Deputy who was assigned to Moving Defendants’ property for JPSO and who was working “off-

duty”/ “public assignment” on Moving Defendants’ property at the time of the incident.28 When

Defendant Pitfield arrived on the scene of the conflict between E.P and his father, Plaintiff Daren

Parsa, Defendant Pitfield was “acting as an agent, servant, and borrowed employee of [Moving

Defendant], in the course and scope of his employment,” according to Plaintiffs.29




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   Statement of Material Facts (SMF), ¶ 1; Complaint, Doc. 1.
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   Doc. 1, ¶¶ 1-2.
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   Doc. 1, ¶ 2.
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   Doc. 1, ¶ 3.
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   SMF, ¶ 2; Doc. 1, ¶ 43.
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   SMF, ¶ 2; Doc. 1, ¶ 44.
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   SMF, ¶ 3; Doc. 1, ¶ 46.
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   Doc. 1, ¶¶ 48-63.
         The record establishes, however, that Moving Defendants had never even had a discussion

with Defendant Pitfield and required no type of reporting from him.30 Furthermore, Moving

Defendants issued no policies or procedures to Defendant Pitfield.31 Most importantly, Moving

Defendants provided no instruction as to how Defendant Pitfield should perform his work, did not

train Defendant Pitfield in any way, and did not provide the methods used by Defendant Pitfield

during the incident at issue.32 Louisiana jurisprudence dictates that Moving Defendants did not

employ levels of control sufficient to deem Defendant Pitfield their servant.

         Plaintiffs allege that Moving Defendants are directly liable for their own negligence, and

are liable on grounds of apparent and implied agency and vicarious liability for the actions of their

“special detail” security guard.33 In the “Causes of Action” section of their Complaint, Plaintiffs

bring one count against Moving Defendants: “Violation of Louisiana Constitution and State

Law.”34 The only allegation involving Moving Defendants contained in this count is that Moving

Defendants “[are] liable for the actions and omissions of Defendant Pitfield, as stated herein, in

his capacity as working a ‘special detail’ on ‘public assignment’ on the premises of the Westgate

Shopping Center, and acting in the course and scope of his employment or agency, at all relevant

times herein.”35 There is no factual allegation giving rise to Plaintiffs’ conclusory allegation of

direct negligence.36




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   SMF, ¶¶ 6; Exhibit 1, Deposition of Gina Christopher, p. 26, lines 7-10, 20-24, p. 45, lines 16-18.
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   SMF, ¶¶ 11-12; Ex. 1, p. 25, lines 11-15; Ex. 2, p. 36, lines 23-25, p. 37, lines 1-15.
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   SMF, ¶¶ 13-16; Ex. 1, p. 44, lines 2-25; Ex. 2, p. 98, lines 1-7, p. 231, lines 7-22, p. 233, lines 7-10.
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   Doc. 1, ¶ 27.
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   SMF, ¶ 4; Doc. 1, ¶ 477.
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   SMF, ¶ 4; Doc. 1, ¶ 477.
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   SMF, ¶ 5; Doc. 1, in globo; Doc. 1, ¶ 27.
                                     LAW AND ARGUMENT

        A.      Summary Judgment Standard

        Summary judgment is appropriate when the evidence before the court shows “that there is

no genuine issue of material fact and the movant is entitled to judgment as a matter of law.”

Supreme Home Health Services, Inc. v. Azar, 380 F. Supp. 3d 533, 552 (W.D. La. 2019), aff’d 812

F. App’x. 229 (5th Cir. 2020) (quoting Fed. R. Civ. P. 56(a)). A fact is “material” if proof of its

existence or nonexistence would affect the outcome of the lawsuit under the applicable law in the

case. Id. A dispute about a material fact is “genuine” if the evidence is such that a reasonable fact

finder could render a verdict for the nonmoving party. Id.

        In evaluating the parties’ evidence, a court must accept the evidence of the non-movant as

credible and draw all justifiable inferences in its favor. Id. at 553. While courts will “resolve factual

controversies in favor of the non-moving party,” an actual controversy exists only “when both

parties have submitted evidence of contradictory facts.” Id. (quoting Little v. Liquid Air. Corp., 37

F.3d 1069, 1075 (5th Cir. 1994) (en banc)). The non-moving party may not rely merely on the

allegations and conclusions contained within the pleadings; rather, the non-movant “must go

beyond the pleadings and designate specific facts in the record showing that there is a genuine

issue for trial.” Id. (quoting Wallace v. Texas Tech Univ., 80 F.3d 104, 1047 (5th Cir. 1996)).

        When a movant bears the burden of proof on an issue, it must establish “beyond [doubt]

all of the essential elements of the claim . . . to warrant judgment in [its] favor.” Id. (quoting

Fontenot v. Upjohn Co., 780 F.2d 1190, 1194 (5th Cir. 1996)). In other words, the movant must

affirmatively establish its right to prevail as a matter of law. Id.

        B.      It is undisputed that Defendant Pitfield was not acting in the course and scope
                of employment for Moving Defendants.

        In their sole charge against Moving Defendants, Plaintiffs assert that Moving Defendants

“[are] liable for the actions and omissions of Defendant Pitfield, as stated herein, in his capacity
as working a ‘special detail’ on ‘public assignment’ on the premises of the Westgate Shopping

Center, and acting in the course and scope of his employment or agency, at all relevant times

herein.”37 Louisiana jurisprudence establishes that a private security detail whose work is of an

independent nature qualifies as an independent contractor, rendering a principal not liable for its

actions.38 Duronslet v. Wal-Mart Stores, Inc., 2022-0019 (La. App. 4 Cir. 7/27/22), 345 So.3d

1136, 1150-54; Trichell v. McClure, 2021-1240 (La. App. 1 Cir. 4/8/22), 341 So.3d 856, 860-63.

         Employers are liable for the damage caused by their servants and overseers in the exercise

of the functions in which they are employed. La. C.C. art. 2320. Conversely, a principal is not

liable for the actions of an independent contractor unless the work is ultra hazardous or the

principal reserves the right to supervise or control the independent contractor’s work. Hickman v.

Southern Pacific Transport Co., 262 So.2d 385 (La. 1972); Villaronga v. Gelpi Partnership No.

3, 536 So.2d 1307, 1310 (La. App. 5th Cir. 1988), writ denied, 540 So.2d 327 (La. 1989). “The

issue of independent contractor status is a proper subject to be resolved on summary judgment.”

Irwin v. Rubens, 2011-0405 (La. App. 4 Cir. 9/7/11), 75 So.3d 952, 956. The party seeking to

establish an employer-employee relationship bears the burden of proof of establishing such

relationship. Hillman v. Comm-Care, Inc., 2001-1140 (La. 1/15/02), 805 So.2d 1157, 1163.

         “The label ‘independent contractor’ indicates ‘a freedom of action and choice with respect

to the undertaking in question and a legal responsibility on the part of the contractor in case the

agreement is not fulfilled in accordance with its covenants.’” Duronslet, 345 So.3d at 1150-51

(quoting Hickman v. So. Pac. Transp. Co., 262 La. 102, 262 So.2d 385, 390 (1972)). The Louisiana




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  SMF, ¶ 4; Doc. 1, ¶ 477.
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  Since Plaintiffs’ only cause of action against Moving Defendant arises under “Violation of Louisiana Constitution
and State Law,” Louisiana state law governs all claims against Moving Defendant. Doc. 1, ¶ 477; see Sommers Drug
Stores Co. Employee Profit Sharing Trust v. Corrigan, 883 F.2d 345, 353 (5th Cir. 1989) (“A federal court
exercising pendent jurisdiction over state law claims, must apply the substantive law of the state in which it sits.”).
Supreme Court has developed the following factors to determine whether an individual is an

employee or an independent contractor:

       (1) there is a valid contract between the parties; (2) the work being done is of an
       independent nature such that the contractor may employ non-exclusive means in
       accomplishing it; (3) the contract calls for specific piecework as a unit to be done according
       to the independent contractor’s own methods, without being subject to the control and
       direction of the principal, except as to the result of the services to be rendered; (4) there is
       a specific price for the overall undertaking agreed upon; and (5) the duration of the work
       is for a specific time and not subject to termination or discontinuance at the will of either
       side without a corresponding liability for its breach.

       Id. (citing Hickman v. So. Pac. Transp. Co., 262 So.2d 385, 390-91 (La. 1972)).

       “The single most important factor to consider in deciding whether the employer-employee

relationship exists, for purposes of La. C.C. art. 2320, is the right of the employer to control the

work of the employee.” Bolden v. Tisdale, 2021-00224 (La. 1/28/22), 347 So.3d 697, 708. In

Bolden, the Supreme Court of Louisiana explained that “‘it is the right of control of the time and

physical activities in the other party and the existence of a close relationship between the parties

which determine that one is a servant.’” Id. (quoting Blanchard v. Ogima, 215 So.2d 902, 905 (La.

1968)). Furthermore, “‘Servant’ must be interpreted as that particular kind of agent who has a very

close economic relation to, and is subject to very close control by, the principal. A servant is one

who offers his personal services for a price. He is an integral part of his employer’s business and

must submit to the control of his physical conduct as well as of his time.” Id. (quoting Blanchard

v. Ogima, 215 So.2d 902, 906 (La. 1968)).

       Duronslet and Trichell involve circumstances nearly identical to this matter. In Duronslet,

the plaintiff allegedly went to a Walmart store in New Orleans to pick up a prescription, but was

ignored by pharmacy employees. Duronslet, 345 So.3d at 1140. After the plaintiff loudly called to

speak to a manager, an Orleans Parish Sheriff’s deputy who was working security detail at the

store arrived, grabbed him, took him to the floor, pushed his knee into his back, and handcuffed

him. Id. The plaintiff alleged injuries to his back and shoulder, as well as embarrassment,
humiliation, and mental anguish, and asserted that the deputy “was at all times subject to the

direction and control of [Walmart], and his actions were therefore performed in the course and

scope of his employment with [Walmart.]” Id.

       Walmart filed a motion for summary judgment, contending that it was not an employer of

the deputy at the time of the incident, rather that the deputy was an independent contractor. Id. at

1144. In determining whether Walmart was correct, the court proceeded through the five factors

outlined by the Louisiana Supreme Court in Hickman. The court summarily disposed of Factors

(1), (4), and (5), stating that a Security Agreement constituted a valid contract between the parties,

the security guards were provided an hourly rate for their work so there was a specific price for

the overall undertaking, and the duration of the work was for a specific time because the work was

to continue for one year and thereafter on a month-to-month basis until terminated by either party

with thirty days’ notice or in event of a material breach by U.S. Security. Id. at 1151.

       The court deliberated Factors (2) and (3) together, stating that “‘[f]actors two and three are

generally discussed together and refer to the methods used to complete the project, the non-

exclusiveness of those methods, and the degree of control exercised by the principal.’” Id. at 1152

(quoting Simon v. Farm Bureau Ins. Co., 2019-0278 (La. App. 3 Cir. 3/4/20), 297 So.3d 147, 151).

The security detail and Walmart had agreed that security services would be supplied via a

“permanent law enforcement officer” with “duties…to staff a post at the front entrance or

periodically walk around the sales floor as directed by the store management team, providing a

visible deterrent to criminal activity.” Id. at 1153. Walmart did not provide security guards with

operating supplies and equipment. Id. Furthermore, though Walmart retained the right of

inspection and supervision, the security detail had sole control of day-to-day and operational

management services. Id. The court noted that “[t]he Security Agreement further connoted a

degree of autonomy for the guards because it stated that the security guards ‘may take any
precaution the security guard(s), in their professional judgment, determine is necessary to protect

themselves, customers, and [Walmart] associates.’” Id. (emphasis added by the court). The court

concluded that it was undisputed that the security detail was not an employee of Walmart. Id. at

1154.

        Similarly, Trichell v. McClure, 2021-1240 (La. App. 1 Cir. 4/8/22), 341 So.3d 856,

involved a private security detail accused of misconduct. The security detail in Trichell had more

specific duties and was subject to far greater levels of control than Defendant Pitfield, yet the court

in Trichell still granted summary judgment in favor of the property owner. In Trichell, the plaintiff

took a golf cart for a joyride around his apartment complex in the early-morning hours. Trichell,

341 So.3d at 858. A “courtesy officer” who was a city police officer living at the complex got into

an altercation with the plaintiff in which he “used a takedown maneuver to subdue and handcuff

the apparently intoxicated Trichell. As a result, Trichell claims he suffered serious injuries,

including a fractured jaw that required extensive medical treatment.” Id. at 859. The plaintiff

named the company that owned the apartment complex, GAA, as a defendant, alleging it was

vicariously liable for the acts of the courtesy officer. Id. GAA responded that it could not be held

vicariously liable because the officer was acting as an independent contractor at the time of the

incident, so was not a GAA employee. Id.

        The record contained evidence that the officer was responsible for providing a courteous

presence among residents, assisting in enforcement of rules and regulations, and generally

assisting property management. Id. at 861. Specific duties included being on call for disturbances

or safety-related calls, walking and patrolling the property, checking lights and gates, locking

designated areas nightly, attending social functions, assisting management with residential

problems when requested, attending instruction on crime prevention from management, meeting

with management three times weekly, and notifying management of planned absences. Id. The
officer was to complete a daily activity report noting the areas of the property that were checked

and whether criminal activity was observed. Id. As discussed infra, specific duties such as these

were not instituted by Moving Defendants.

           The property-owner defendants oversaw neither Defendant Pitfield nor the security detail

in Trichell in the methods and operations of their work. A GAA executive attested that the methods

and timing of completing the duties were within the control of the officers, that the officers had

the discretion to perform services based on their training and experience as law enforcement

officers, and that the security officers were not provided with tools or training to perform the

security-related duties and inspections. Id. The officer testified at deposition that his actions were

in accordance with his police training. Id. at 862. This evidence, according to the court,

“established that [the officer] handled the incident at his own discretion, according to his police

training.” Id. There was an “absence of factual support for [plaintiff’s] claim that [the officer] was

[GAA’s] employee,” thus GAA was entitled to summary judgment. Id.

           As in Trichell and Duronslet, Plaintiffs allege that Moving Defendants are vicariously

liable for the actions of a private security guard who was patrolling their property.39 Yet, the guards

in Trichell and Duronslet were subject to greater levels of control than the guard in this matter and

the property owners were granted summary judgment in those cases. In Trichell, the security guard

was tasked with attending instruction on crime prevention from property management, meeting

with management three times weekly, attending social functions, and notifying management of

planned absences. Trichell, 341 So.3d at 861. Here, Moving Defendants had no regular meetings

with Defendant Pitfield, gave him no social obligations, and had never even had a discussion with

him.40 The guard in Trichell was responsible for completing a daily activity report. Trichell, 341




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     SMF, ¶ 4; Doc. 1, ¶ 477; see Duronslet, 345 So.3d at 1140; Trichell, 341 So.3d at 859.
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     SMF, ¶ 6; Exhibit 1, Deposition of Gina Christopher, p. 26, lines 20-24, p. 45, lines 16-18.
So.3d at 861. Moving Defendants did not require security to write any type of reports.41 In

Duronslet, the officer was instructed to “periodically walk around the sales floor as directed by the

store management team, providing a visible deterrent to criminal activity.” Duronslet, 345 So.3d

at 1153. Here, the only instruction Moving Defendants gave to the private security detail was that

they were to “have an officer present on the parking lot for specified periods of time to where they

were protecting the patrons and the tenants of the Westgate Shopping Center.”42 There was no

direction of movement. Moving Defendants never received a security plan or proposal from JPSO

and Moving Defendants never developed a security plan themselves.43

         Furthermore, and most importantly, Moving Defendants did not utilize any control over

the security guards’ methods of performance. See Bolden 347 So.3d at 708 (“The single most

important factor to consider in deciding whether the employer-employee relationship exists, for

purposes of La. C.C. art. 2320, is the right of the employer to control the work of the employee.”)

In Trichell, the court highlighted that the methods and timing of completing the duties were within

the control of the officers, the officers had the discretion to perform services based on their training

and experience as law enforcement officers, and the security officers were not provided with tools

or training to perform the security-related duties and inspections. Trichell, 341 So.3d at 861.

Similarly, in Duronslet, the court noted that Walmart did not provide security guards with

operating supplies and equipment, and highlighted the fact that security guards were to use their

professional judgment in determining what was necessary to protect those on site. Duronslet, 297

So.3d at 1153. Here, Defendant Pitfield testified that “the policies and procedures that [he was]

supposed to follow in [his] role doing private detail work for customers were the policies and

procedures [he was] trained on by JPSO[.]”44 Moving Defendants corroborated this statement,


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   SMF, ¶ 7; Ex. 1, p. 26, lines 7-10.
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   SMF, ¶ 8; Ex. 1, p. 36, lines 18-25, p. 37, lines 1-6.
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   SMF, ¶ 9; Ex. 1, p. 30, lines 1-5.
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   SMF, ¶ 11; Ex. 2, p. 36, lines 23-25, p. 37, lines 1-15.
testifying that they had no policies, rules, or regulations of any type with which the security detail

was required to comply.45 Security was instructed only to patrol the property.46 When called to the

incident at issue, Defendant Pitfield was not “under any general directive or protocol provided by

Westgate,” was “at [his] discretion as a reserve deputy officer to respond to that incident,” and in

that moment would follow his JPSO training.47 Moving Defendants provided no training to their

security officers and Defendant Pitfield had no conversations with Moving Defendants following

the incident at issue.48 The methods used by the security officers were to be the same methods they

used as on-duty police officers.49 Just as in Trichell and Duronslet, Moving Defendants did not

provide tools or equipment for officers to perform security-related duties; apart from a cell phone,

the security guards used their own uniform, weapon, vehicle, and tools.50 See Duronslet, 345 So.3d

at 1153; Trichell, 341 So.3d at 861.

         The courts in Trichell and Duronslet granted summary judgment in favor of the property

owners. Duronslet, 345 So.3d at 1154; Trichell, 341 So.3d at 862. The same should be done here.51

         C.        Alternatively, it is undisputed that the private security detail’s actions were
                   not a cause-in-fact of E.P.’s injuries.

         It is undisputed that when Defendant Pitfield’s involvement in the incident at issue ceased,

E.P was calm and his condition raised no cause for concern. Therefore, there can be no finding


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   SMF, ¶ 12; Ex. 1, p. 25, lines 11-15.
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   SMF, ¶ 13; Ex. 2, p. 98, lines 1-7.
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   SMF, ¶ 14; Ex. 2, p. 231, lines 7-22.
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   SMF, ¶ 15; Ex. 2, p. 233.
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   SMF, ¶ 16; Ex. 1, p. 44, lines 2-25.
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   SMF, ¶ 10; Ex. 1, p. 43, lines 16-25, p. 44, lines 1-22; Exhibit 2, Deposition of Chad Michael Pitfield, p. 61, lines
13-19, p. 62, lines 1-25, p. 63, lines 1-23, p. 95, lines 15-18, p. 97, 22-25.
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   Looking beyond the independence/control factors, it is undisputed that there was an agreement between Moving
Defendant and JPSO about the services to be performed and that the security guards were provided a specific hourly
rate for their work. Ex. 1, p. 36, lines 7-25, p. 37, lines 1-6; Ex. 2, p. 36, lines 18-22. In Duronslet, the court held that
a specified hourly rate for the officer’s work indicates an independent contractor relationship. Duronslet, 345 So.3d
at 1151 (“The Addendum satisfies the fourth factor (i.e., a specific price for the overall undertaking) because it lists
the hourly rate for the security guards.”). Furthermore, Louisiana courts have found independent contractor
relationships on motions for summary judgment when the relationships are predicated on oral agreements. See, e.g.,
Buckley v. Vess Beverage, Inc., 99-1073 (La. App. 5 Cir. 3/22/00), 759 So.2d 133, 135-36 (citing Cooley v. Benson
Motor Co., 97–27 (La. App. 5 Cir. 5/28/97), 695 So.2d 1049). The duration of work was non-specific, however this
should be considered in the context of the nature of the work being on-going security services.
that his actions caused damage to Plaintiffs. In any negligence claim, the plaintiff must prove every

element of a duty-risk analysis. Pinsonneault v. Merchants & Farmers Bank & Trust Co., 2001-

2217 (La. 4/3/02), 816 So.2d 270, 275. The elements a plaintiff must prove are: (1) the defendant

had a duty to conform its conduct to a specific standard of care (a duty), (2) the defendant failed

to conform its conduct to that standard of care (a breach of duty), (3) the defendant’s failure to

conform its conduct was a cause-in-fact of the plaintiff’s injuries (a cause-in-fact), (4) the

defendant’s failure to conform its conduct was a legal cause of the plaintiff’s injuries (within legal

scope of protection), and (5) actual damages (damage). Id. at 276.

       Louisiana courts have held that summary judgment is warranted in favor of the defendant

when a potentially negligent act is a harmless step on the stairway to ensuing harm. In Desselle v.

State Farm Mut. Ins. Co., 21-553 (La. App. 5 Cir. 6/8/22), 343 So.3d 895, the court addressed a

situation in which the defendant was alleged to have parked his vehicle in a fire lane, causing the

plaintiff to take an alternate route over an uneven grassy area. Desselle, 343 So.3d at 896-97. The

plaintiff lost her footing and was injured. Id. The court concluded, “[Plaintiff] asserts that, ‘but

for’ an obstruction to the school entrance created by Mr. Siles’ parked and unattended vehicle, she

would not have ultimately sustained her injuries. Even if we were to assume that Mr. Siles’ act of

parking the car was negligent, there appears to be no issue of material fact that the physical cause

of [Plaintiff’s] fall was directly attributable to a specific area of uneven ground…” Id. at 900-01.

The court determined that Mr. Siles was not liable for injury. Id.

       In coming to this conclusion, the court in Desselle, looked to LaCas v. Hartford Acc. &

Indem. Co., 152 So.2d (La. Ct. App. 1963), in which

       the plaintiff sued the owner of a vehicle who had parked near the base of her apartment’s
       stairway, after she slipped and fell and her child struck the vehicle. Specifically, the
       plaintiff in that case argued that the act of the defendant, in parking his car so near the base
       of the stairway, fell below the standard of care required of an average reasonable man, and
       consisted of actionable negligence when shown to be the proximate cause of the injury to
       plaintiff’s child.
         Desselle, 343 So.3d at 900 (citing LaCas, 152 So.2d 644).

In affirming summary judgment, the court explained that even if the defendant was negligent in

parking his vehicle where he did, “we cannot say it was the procuring, efficient and predominant

cause of the injuries suffered by plaintiff’s child. Nor do we think that the act of Atkins in parking

his car where he did was the necessary antecedent of those injuries.” Id. at 900 (quoting LaCas,

152 So.2d at 645).

         The undisputed evidence in the matter at bar establishes that the private security detail at

the time of the incident at issue, Defendant Pitfield, did not cause any injury; rather, any alleged

injury occurred only after Defendant Pitfield was no longer involved with E.P’s restraint. When

asked whether there was anything about E.P.’s situation that caused her concern for things like

need for CPR, or whether E.P. was in a chokehold of any kind, at the time Defendant Pitfield left

E.P, Plaintiff Donna Lou testified, “No, not with – with Mr. Pitfield, he was not in a chokehold at

that time. That was, from the videotape, was Mr. Vega was on top of [E.P.] at that point.”52 She

testified that E.P had been calm during the time that Defendant Pitfield was involved with his

restraint.53 Plaintiff Daren Parsa, too, acknowledged that “when Chad Pitfield was replaced by

whichever officer came next to restrain [E.P.],” he “remember[s] Donna still holding his hand and

Donna wouldn’t be able to hold his hand unless [E.P.] was calm at that point.”54 Finally, Defendant

Pitfield corroborated Plaintiffs’ account, stating that there was no indication that E.P. was having

respiratory issues before he was replaced.55

         This testimony establishes that Defendant Pitfield did not have E.P. in a chokehold, and

that E.P. was calm – thus unharmed – at the time that Defendant Pitfield ceased to be involved.



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   SMF, ¶ 19; Ex. 3, p. 206, lines 3-11.
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   SMF, ¶ 18; Exhibit 3, Deposition of Donna Lou, p. 176, lines 15-19.
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   SMF, ¶ 20; Exhibit 4, Deposition of Daren Parsa, p. 278, lines 5-13.
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   SMF, ¶ 21; Ex. 2, p. 125, lines 17-25, p. 126, lines 1-4.
Like the vehicles in Dessele and LaCas, Defendant Pitfield’s conduct was a harmless step on the

path to tragic injury. See Dessele, 343 So.3d at 896-97, 900-01; LaCas, 152 So.2d at 644-45. As

such, it is undisputed that Defendant Pitfield’s conduct was not a cause-in-fact of the injury at

issue. See Dessele, 343 So.3d at 896-97, 900-01; LaCas, 152 So.2d at 644-45. If Defendant Pitfield

is deemed an employee of Moving Defendants, summary judgment is warranted in favor of

Moving Defendants on grounds that Defendant Pitfield’s conduct was not a cause-in-fact of any

injury.

                                          CONCLUSION

          Moving Defendants cannot be held liable in this matter because it is undisputed that they

did not enjoy a right of control sufficient to make them vicariously liable for the private security

detail’s actions. Trichell and Duronslet establish that when a property owner does not train the

security detail, establish policy and/or protocol for the security detail, and does not provide

equipment for the security detail, then it cannot be liable as the employer of the security detail.

Defendant Pitfield used law enforcement methods he learned from JPSO during the incident at

issue, and all of his training, policy expectations, and equipment came from JPSO. Moving

Defendant had never even had a conversation with Defendant Pitfield. As in Trichell and

Duronslet, Moving Defendants did not control the work of their private security detail, thus

Moving Defendants should not be held liable for the security detail’s conduct. Summary judgment

should be granted in favor of Moving Defendants.

          Alternatively, if this Court were to conclude that summary judgment is not warranted on

grounds of no employer-employee relationship, then Moving Defendants request that summary

judgment be granted in their favor on grounds that Moving Defendants’ private security detail did

not cause injury. Plaintiffs’ testimony establishes that when the private security detail was replaced

by another officer, E.P. was calm and uninjured. It is undisputed that Moving Defendants’ private
security detail was not a cause-in-fact of the ultimate injury, thus Moving Defendants cannot be

held liable for injury.

        For the foregoing reasons, Defendants Victory Real Estate Investments LA, LLC and

Westgate Investors NO, LLC d/b/a Westgate Shopping Center respectfully request that summary

judgment be granted in their favor and that all claims against them be dismissed with prejudice.

                                                Respectfully submitted,

                                                THOMPSON, COE, COUSINS & IRONS, LLP

                                                /s/ Christopher W. Kaul ______________________

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                                                COUNSEL FOR VICTORY REAL ESTATE
                                                INVESTMENTS LA, LLC and WESTGATE
                                                INVESTORS NO, LLC D/B/A WESTGATE
                                                SHOPPING CENTER



                                  CERTIFICATE OF SERVICE

        I hereby certify that to the best of my knowledge all counsel of record consent to and

participate in receiving electronic notification from the CM/ECF system, and that the Clerk of the

Court for the Eastern District of Louisiana, using the CM/ECF system, will electronically send

notification of the filing of this pleading to all counsel of record.




                                                By: /s/ Christopher W. Kaul __________________
                                                    Christopher W. Kaul
